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     HEATHER E. WILLIAMS, #122664
1    Federal Defender
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2    Assistant Federal Defender
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5    Attorneys for Defendant
     AUDREY JOHNSON
6
7
8                                   UNITED STATES DISTRICT COURT
9                                EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                    )   Case No. 2:15-cr-00029 TLN
                                                  )
11                        Plaintiff,              )   WAIVER OF PERSONAL APPEARANCE;
                                                  )   ORDER
12         v.                                     )
                                                  )   Judge: Hon. Troy L. Nunley
13   AUDREY LYNN JOHNSON,                         )
                                                  )
14                        Defendant.              )
                                                  )
15
16
            Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant , AUDREY
17
     LYNN JOHNSON, hereby waives the right to be present in person in open court upon the
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     hearing of any motion or other proceeding in this case, including, but not limited to, when the
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     case is set for trial, when a continuance is ordered, and when any other action is taken by the
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     court before or after trial, specifically, appearances for any hearing regarding modification of
21
     conditions of supervised release, except upon arraignment, plea empanelment of jury and
22
     imposition of sentence.
23
            Defendant hereby requests the Court to proceed during every absence which the Court
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     may permit to this waiver; agrees that defendant’s interests will be deemed represented at all
25
     times by the presence of the defendant’s attorney, the same as if the defendant were personally
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     present; and further agrees to be present in court ready for trial any day and hour the Court may
27
     fix the defendant’s absence.
28
                                                      -1-                    Waiver of Personal Appearance
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1           The defendant further acknowledges being informed of the rights under Title 18 U.S.C.
2    §§ 3161-3174 (Speedy Trial Act), and authorizes the defendant’s attorney to set times and dates
3    under that Act without the defendant’s personal presence.
4           The original signed copy of this waiver is being preserved by the attorney undersigned.
5
     Dated: July 21, 2015
6
                                                 /s/ Audrey Lynn Johnson
7                                                AUDREY LYNN JOHNSON
                                                 Original retained by attorney
8
9           I agree and consent to my Client’s waiver of appearance.
10   Dated: July 21, 2015
11                                               /s/ Douglas Beevers
                                                 DOUGLAS BEEVERS
12                                               Assistant Federal Defender
                                                 Attorney for Defendant
13                                               AUDREY JOHNSON

14          IT IS SO ORDERED.

15   Dated: October 15, 2015

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17
                                                 Troy L. Nunley
18                                               United States District Judge
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28
                                                   -2-                    Waiver of Personal Appearance
